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DIRECT DIAL NUMBER:                                                                                          Jerry R. DeSiderato
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                                                     February 17, 2023

VIA E-MAIL AND ECF
The Honorable Wendy Beetlestone
United States District Court
Eastern District of Pennsylvania
James A. Byrne U.S. Courthouse
601 Market Street
Philadelphia, PA 19106-1797
chambers_of_judge_beetlestone@paed.uscourts.gov

         RE:       THE SCHOOL DISTRICT OF PHILADELPHIA v. THE CITY OF
                   PHILADELPHIA, et al. (2:23-CV-00238-WB)
                   Status of Joint Rule 26(f) Report

Dear Judge Beetlestone,

       My firm represents Defendants, The City of Philadelphia, The Philadelphia Department
of Public Health, and Managing Director Tumar Alexander, in the above-referenced matter.
With the consent of Plaintiff, The School District of Philadelphia, I write concerning the Court’s
Notice of Preliminary Pretrial Conference (Doc. 10), which requires the parties to conduct their
Rule 26(f) meeting and submit their Joint Report of Rule 26(f) Meeting and Proposed Discovery
Plan by Wednesday, February 22, 2023.

        The parties and their counsel have communicated with one another and, due to the
upcoming holiday and other scheduling conflicts, the parties are unable to conduct their Rule
26(f) meeting until Thursday, February 23, at 12:00 pm. Consequently, we respectfully request
that the Court permit the parties to conduct their Rule 26(f) meeting and submit their Joint
Report by no later than Friday, February 24 at 3:00 pm, while still proceeding with the Rule 16
Conference on March 1, 2023.




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The Honorable Wendy Beetlestone
February 17, 2023
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         Thank you kindly for Your Honor’s consideration of this request.

                                                     Respectfully Yours,




                                                     Jerry R. DeSiderato

cc:      Shoshana (Suzanne Ilene) Schiller (via e-mail)




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